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 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 UNITED STATES OF AMERICA,                                 Case No.: 2:16-cr-00374-APG-NJK

 4           Plaintiff,                                 Order Granting in Part the Government’s
                                                        Motion in Limine Regarding Defendant’s
 5 v.                                                   Individual Income and UTS Business Tax
                                                                        Returns
 6 KING ISAAC UMOREN,
                                                                        [ECF No. 210]
 7           Defendant.

 8

 9          Defendant King Isaac Umoren owned and operated tax preparation businesses. The

10 government alleges Umoren created false tax returns, stole money from the refunds generated by

11 the false returns, and impersonated an FBI agent. 1 The government moves to admit evidence

12 that (1) Umoren failed to file individual income tax returns for tax years 2014 through 2020 and

13 (2) Umoren failed to ever file business tax returns for UTS.

14          The government contends that evidence of these failures to file tax returns should be

15 admitted as direct evidence that is inextricably intertwined with the charged conduct.

16 Alternatively, the government contends this evidence is admissible under Federal Rule of

17 Evidence 404(b) because it shows knowledge, intent, willfulness, common plan or scheme,

18 modus operandi, identity, absence of mistake, and consciousness of guilt. Umoren responds that

19 the failure to file tax returns is not inextricably intertwined with the charged conduct, that the

20 evidence does not pass muster under Rule 404(b), and that any probative value is outweighed by

21 the danger of unfair prejudice.

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      Additional allegations against Umoren related to his tax preparation businesses are pending in
     United States v. Umoren, 2:19-cr-00064-APG-NJK.
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 1         Analysis

 2         As a general rule, relevant evidence is admissible unless otherwise proscribed. Fed. R.

 3 Evid. 402. Evidence is relevant if “(a) it has any tendency to make a fact more or less probable

 4 than it would be without the evidence; and (b) the fact is of consequence in determining the

 5 action.” Fed. R. Evid. 401. Where relevant evidence’s “probative value is substantially

 6 outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading the jury, undue

 7 delay, wasting time, or needlessly presenting cumulative evidence,” I may exclude it. Fed. R.

 8 Evid. 403.

 9         Under Rule 404(b)(1), “[e]vidence of any other crime, wrong, or act is not admissible to

10 prove a person’s character in order to show that on a particular occasion the person acted in

11 accordance with the character.” However, such evidence may be admitted if it bears on “motive,

12 opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack of

13 accident.” Fed. R. Evid. 404(b)(2). Rule 404(b) is a rule of “inclusion which admits evidence of

14 other crimes or acts relevant to an issue in the trial, except where it tends to prove only criminal

15 disposition.” United States v. Rocha, 553 F.2d 615, 616 (9th Cir. 1977) (citation omitted). The

16 Ninth Circuit applies a four-part test when considering admissibility under Rule 404(b). Under

17 this test, the government must show that “(1) the evidence tends to prove a material point; (2) the

18 other act is not too remote in time; (3) the evidence is sufficient to support a finding that

19 defendant committed the other act; and (4) (in certain cases) the act is similar to the offense

20 charged.” United States v. Martin, 796 F.3d 1101, 1106 (9th Cir. 2015) (citation and internal

21 quotations omitted).

22         “[E]vidence that is inextricably intertwined with a charged offense is independently

23 admissible and is exempt from the requirements of Rule 404(b).” United States v. Anderson, 741



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 1 F.3d 938, 949 (9th Cir. 2013) (internal quotations and citation omitted). Evidence may be

 2 inextricably intertwined where it either (1) “constitutes a part of the transaction that serves as the

 3 basis for the criminal charge” or (2) is necessary to “permit the prosecutor to offer a coherent and

 4 comprehensible story regarding the commission of the crime.” United States v. Loftis, 843 F.3d

 5 1173, 1178 (9th Cir. 2016) (internal quotations and citation omitted).

 6         Evidence of Umoren’s failure to file tax returns is not inextricably intertwined with the

 7 charged crimes because it does not constitute a part of Umoren’s fraud scheme or other charged

 8 conduct. It likewise is unnecessary to help the government offer a coherent story of the charged

 9 conduct.

10         However, evidence of Umoren’s failure to file individual and UTS business tax returns is

11 admissible under Rule 404(b). Umoren’s failures to file returns may tend to prove his

12 knowledge of the illegality of the charged conduct, a plan or scheme to conceal illegally acquired

13 funds, or consciousness of guilt. Umoren’s failure to file are not remote in time relative to the

14 charged conduct. The evidence is sufficient to support a finding that Umoren is responsible for

15 these failures to file, as the returns in question are his personal returns and those of businesses he

16 owned and operated. Finally, his failures to file are similar to the offenses charged in that they

17 all implicate the return-filing process.

18         The probative value of Umoren’s failures to file individual tax returns for tax years 2014

19 through 2017 and his failure to file any business tax returns on behalf of UTS is not substantially

20 outweighed by a dangers of unfair prejudice, confusing the issues, misleading the jury, undue

21 delay, wasting time, or cumulativeness. However, because Umoren was detained from 2018

22 onward (which caused corresponding burdens to filing tax returns), the probative value of his

23 failure to file individual returns from 2018 onward is substantially outweighed by the danger of



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 1 unfair prejudice. So the government may present evidence concerning Umoren’s failure to file

 2 individual tax returns only for tax years 2014 to 2017. 2

 3         Conclusion

 4         I THEREFORE ORDER that the government’s motion in limine (ECF No. 210) is

 5 GRANTED in part.

 6         DATED this 3rd day of December, 2021.

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                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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     The government’s motion seeks an order permitting evidence of Umoren’s failure to file
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   individual income tax returns for tax years 2014 through 2020. ECF No. 210 at 18. However, in
   its reply brief its request spans tax years 2014 through 2017. ECF No. 232 at 6. This change may
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   be an acknowledgement of Umoren’s opposition argument concerning post-detention filing
   challenges.

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